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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 Doctors for America,

                             Plaintiff,

        v.                                      Case No. 1:25-cv-00322-JDB

 Office of Personnel Management, et al.,

                             Defendants.


                                    Joint Status Report

    Pursuant to paragraph 3 of the Court’s Temporary Restraining Order (Order), ECF

No. 11, the parties submit this joint status report describing their efforts to comply with

the Order and proposing a schedule for further proceedings.

    As directed by paragraph 1 of the Order, before 11:59 pm on February 11, 2025,

Defendants restored to its January 30, 2025 version “each webpage and dataset

identified by Plaintiff on pages 6–12 of its Memorandum of Law in Support of the

Motion for a Restraining Order [ECF No. 6-1].”

    To comply with paragraph 2 of the Order, on February 11, 2025, Defendants asked
Plaintiff for a list of the “other resources that [Plaintiff’s] members rely on to provide

medical care and that defendants removed or substantially modified on or after January

29, 2025, without adequate notice or reasoned explanation.” Plaintiff provided an initial

list on February 12 (4:46 p.m.) and a supplemental list on February 13 (9:52 a.m.). As

directed by paragraph 2 of the Order, Defendants will restore the resources on

Plaintiff’s initial and supplemental lists by the end of the day on February 14, 2025.1


1 Plaintiff’s lists include websites from Department of Health and Human Services

(HHS) components other than the Centers for Disease Control and Prevention and the
Food and Drug Administration. The parties disagree about whether such websites
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    Plaintiff’s counsel is still waiting to hear from some of Plaintiff’s members about

additional webpages that fall within paragraph 2 of the Order and will inform

Defendants’ counsel before 10 a.m. on February 14, 2025. Defendants will use their best

efforts to restore any such additional webpages, provided that they fall within

paragraph 2 of the Order, by 11:59 p.m. on February 14, 2025. (Plaintiff notes that there

are likely other webpages on which its members rely but that it may not be able to

identify this week. Plaintiff reserves the right to seek relief related to such as-of-yet

unidentified webpages in a future motion.)

    Going forward, on or before February 18, 2025, Plaintiff will file an amended

complaint. The parties then will submit another joint status report addressing the

schedule for further proceedings on or before February 21, 2025, four days before the

Order expires.

 February 13, 2025                                Respectfully submitted,

 /s/ Zachary R. Shelley (with permission)         /s/ James W. Harlow
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                                                  Counsel for Defendants




properly fall within the scope of the Order. However, given Plaintiff’s forthcoming
amended complaint and to avoid further emergency motions practice, Defendants will
restore those websites consistent with the Order. Defendants have objected to restoring
the website “reproductiverights.gov.” Plaintiff’s counsel is conferring with their client.


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